 Case 1:22-cv-00332-REB Document 10 Filed 03/07/22 USDC Colorado Page 1 of 1
Case:19-19816-EEB Doc#:184 Filed:03/07/22 Entered:03/07/22 11:19:15 Page1 of 1



                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF COLORADO

   In re:
                                                     Bankruptcy Case No. 19-19816-EEB
   ALEXANDER JOHNSON,                                Chapter 7

   Debtor.


   RITCHIE, DILLARD, DAVIES & JOHNSON,
   P.C.,                                             U.S. District Court
                                                     Case No. 22-cv-332 REB
   Appellants,

   v.

   M. STEPHEN PETERS,
   Appellee,



                       SECOND NOTICE REGARDING RECORD ON APPEAL

            Pursuant to F.R.B.P. 8009 and 8010, please note the following:

       ☒ A Notice of Appeal and Statement of Election was filed on February 3, 2022 by
 Joshua Sheade on behalf of Ritchie, Dillard, Davies & Johnson, P.C. in the captioned case.

        ☒ The parties have designated a Record on Appeal. Volume I was transmitted to the
 U.S. District Court on March 3, 2022.

            ☒ The following documents have now been filed:
                  Volume II - Transcript of January 20, 2022 Non-Evidentiary Hearing.



            DATED: March 7, 2022                              Kenneth S. Gardner, Clerk of Court
                                                              By: M. Reynolds, 720-904-7450


            A copy of this notice has been transmitted electronically to US District Court.
